Case 3:23-cv-03417-VC   Document 395-7   Filed 01/15/25   Page 1 of 5




                        Exhibit 6
  Case 3:23-cv-03417-VC        Document 395-7        Filed 01/15/25      Page 2 of 5

11/13/2024              Richard Kadrey, et al. v. Meta Platforms, Inc.     Michael Patrick Clark
                                    Highly Confidential


                                                                                    Page 1
                     IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
         _________________________________
         RICHARD KADREY, et              al.,               )
                                                            )
         Individual and Representative                      )    Lead Case No.
         Plaintiffs,                                        )
                                                            )    3:23-cv-03417-VC
                v.                                          )
                                                            )
         Meta Platforms, Inc.,                              )
                                                            )
         Defendant.                                         )
         _________________________________)


                ** H I G H L Y           C O N F I D E N T I A L **
                      30(b)(1) VIDEOTAPED DEPOSITION OF
                               MICHAEL PATRICK CLARK
                                    Denver, Colorado
                         Wednesday,         November 13, 2024


                         Reported stenographically by:
              Michelle Kirkpatrick, RDR-CRR-CRC-CRI, FCRR
         ______________________________________________________
                               DIGITAL EVIDENCE GROUP
                          1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
                                     (202) 232-0646


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  Case 3:23-cv-03417-VC        Document 395-7        Filed 01/15/25      Page 3 of 5

11/13/2024              Richard Kadrey, et al. v. Meta Platforms, Inc.     Michael Patrick Clark
                                    Highly Confidential


                                                                                 Page 162
  1          Q    Who provided it as a set?                                             13:45

  2          A    Either the National Health Service or                                 13:45

  3   National Institute of Health.       I don't remember                              13:45

  4   which one it is, but I remember -- it was one of                                  13:45

  5   those two that provide -- PubMed is a source of                                   13:45

  6   these articles.                                                                   13:45

  7          Q    And did Meta pay for that access?                                     13:46

  8          A    No.   It's -- those are freely available.                             13:46

  9          Q    Now, with respect to LibGen, do you                                   13:46

 10   understand that phrase to -- I'm sorry, that dataset                              13:46

 11   to include copyrighted materials?                                                 13:46

 12          A    Yes, that is my understanding.                                        13:46

 13          Q    And do you know where LibGen comes from,                              13:46

 14   geographically speaking?                                                          13:46

 15               MS. HARTNETT:    Object to the form.                                  13:46

 16          A    LibGen, or Library Genesis, is a publicly                             13:46

 17   contributed torrent that includes -- that doesn't --                              13:46

 18   like, the -- LibGen doesn't live anywhere                                         13:46

 19   geographically.                                                                   13:46

 20   BY MR. STEIN:                                                                     13:46

 21          Q    Do you know if it was created by an                                   13:46

 22   individual or a group?                                                            13:46




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  Case 3:23-cv-03417-VC           Document 395-7        Filed 01/15/25      Page 4 of 5

11/13/2024                 Richard Kadrey, et al. v. Meta Platforms, Inc.     Michael Patrick Clark
                                       Highly Confidential


                                                                                    Page 163
  1          A     I actually don't.                                                       13:46

  2          Q     Okay.    And you said "torrent."       What's a                         13:46

  3   torrent?                                                                             13:46

  4          A     A torrent is a way of storing data and                                  13:46

  5   sharing data in a distributed fashion across the                                     13:46

  6   internet.                                                                            13:47

  7          Q     What's the purpose of using a torrent as                                13:47

  8   opposed to another method of sharing?                                                13:47

  9                MS. HARTNETT:      Objection to the form.                               13:47

 10          A    A purpose of using torrent is -- it's cost                               13:47

 11   effective.    It is self-healing, so if one piece of                                 13:47

 12   it goes down, pieces of the whole thing are                                          13:47

 13   distributed all over.                                                                13:47

 14               It's why -- it's the same reason that                                    13:47

 15   Microsoft or Linux distributions share big builds or                                 13:47

 16   the original, like, base distribution via torrent:                                   13:47

 17   It's more cost effective, people can get access to                                   13:47

 18   it; and if people near you have that, it downloads                                   13:47

 19   faster than if it were coming centrally.                                             13:47

 20               And so it's a way of sharing and storing                                 13:47

 21   data broadly across the internet.                                                    13:47

 22   BY MR. STEIN:                                                                        13:47




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  Case 3:23-cv-03417-VC        Document 395-7        Filed 01/15/25      Page 5 of 5

11/13/2024              Richard Kadrey, et al. v. Meta Platforms, Inc.     Michael Patrick Clark
                                    Highly Confidential


                                                                                 Page 164
  1          Q    And with respect to LibGen, would you --                              13:47

  2   using your own phrasing of "pirated or stolen                                     13:48

  3   material," do you understand LibGen to contain                                    13:48

  4   pirated or stolen material?                                                       13:48

  5               MS. HARTNETT:    Objection to the form.                               13:48

  6          A    The example that I had mentioned before,                              13:48

  7   where the engineers showed me they had found an                                   13:48

  8   example that it was pirated and a title and a                                     13:48

  9   language I can't remember, was from LibGen.                                       13:48

 10               And so that answer would be yes.                                      13:48

 11   BY MR. STEIN:                                                                     13:48

 12          Q    And with respect to the dataset overall,                              13:48

 13   not just that specific example, is the answer also                                13:48

 14   yes, that it would -- that you understood it to                                   13:48

 15   contain pirated and stolen material?                                              13:48

 16               MS. HARTNETT:    Objection to the form.                               13:48

 17          A    That question's -- could you ask that a                               13:48

 18   little clearer?                                                                   13:48

 19               Or -- I will answer that the whole set --                             13:48

 20   I don't think there's any way to know that that                                   13:48

 21   is -- what I mentioned is I'm aware of one file that                              13:49

 22   was self-identified as pirated or stolen; and the                                 13:49




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